  Case 17-28557       Doc 29      Filed 12/29/17 Entered 12/29/17 11:31:48             Desc Main
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Dated: December 28, 2017
The following is SO ORDERED:


                                                     ________________________________________
                                                                 David S. Kennedy
                                                     UNITED STATES CHIEF BANKRUPTCY JUDGE


____________________________________________________________




                            U. S. BANKRUPTCY COURT
                         WESTERN DISTRICT OF TENNESSEE

In Re: William Eugene Henry                                   Case No.: 17-28557

Debtor.                                                       Chapter 7


             CONSENT ORDER EXTENDING DISCHARGE OBJECTION DATE


       This matter comes before the Court by consent of the parties, who assert the following:

       That additional time is required to investigate the financial affairs of the Debtor and that to

effectuate the proper administration of the case the bar date for any creditor, case trustee, or other

interested party to file an objection to the Debtor's discharge under 11 U.S.C. § 727, shall be

enlarged by Sixty (60) Days from December 21, 2017.

       IT IS, THEREFORE, ORDERED, by consent, that the time to for any creditor, case trustee,

or other interested party to object to the Debtor's discharge under 11 U.S.C. § 727 shall be extended

Sixty (60) Days, to February 19, 2018.

SO ORDERED.
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 APPROVED:

/S/ Edward L. Montedonico
Edward L. Montedonico
Chapter 7 Case Trustee
200 Jefferson, Suite 201
Memphis TN 38103
901-521-9390 4781

JIMMY E. MCELROY AND ASSOCIATES

/s/ Joseph D. Fox
Attorney for Debtor
B.P.R.No. 15809
200 Jefferson, Suite 125
Memphis, TN 38103
(901) 527 - 4110


                                  CERTIFICATE OF SERVICE

       The CLERK OF THE COURT shall serve a copy of the foregoing Order upon the Debtor,
the Debtor's 'Attorney, the U. S. Trustee, and all Creditors and Interested Parties listed on the Court's
Mailing List pursuant to deferment of payments request filed herein and local rule.


                                                        /s/ Edward L. Montedonico
                                                        Edward L. Montedonico
